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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING

STATE OF WYOMING                              )
COUNTY OF PARK                                )
                                              )
JENNIFER L. ANDERSON,                         )
                                              )               Case No. 20-CV-159
      Plaintiff,                              )
                                              )
v.                                            )
                                              )
BROTHERS PYROTECHNICS, INC., a                )
Chinese corporation,                          )
CODY J. KROMREY and                           )
EARL W. LEARNED d/b/a ATLANTIS                )
FIREWORKS,                                    )
                                              )
      Defendants.                             )



     STIPULATION FOR DISMISSAL WITH PREJUDICE – EARL W. LEARNED d/b/a
                          ATLANTIS FIREWORKS


        Pursuant to Rule 41(a)(1)(B), Federal Rules of Civil Procedure, Plaintiff and Defendant,
Earl W. Learned d/b/a Atlantis Fireworks, hereby stipulate that the above-captioned action be
dismissed with prejudice as to Earl W. Learned d/b/a Atlantis Fireworks only, each party to pay
their own costs and attorneys’ fees.

BURG SIMPSON ELDREDGE HERSH                       Respectfully submitted,
& JARDINE, P.C.                                   LAW OFFICE OF HALL & EVANS,
Signed Original on File at                        LLC

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/s/ Colin M. Simpson, Es                /s/ Brian Molzahn, Esq.

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